

People v Norwood (2020 NY Slip Op 04108)





People v Norwood


2020 NY Slip Op 04108


Decided on July 17, 2020


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 17, 2020

PRESENT: WHALEN, P.J., SMITH, CENTRA, CURRAN, AND BANNISTER, JJ. (Filed July 17, 2020.) 


MOTION NO. (932/02) KA 01-00480.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vANDRE NORWOOD, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








